                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

                              CRIMINAL MINUTES – JURY TRIAL
                                                    Day 8

  Case No.: 4:18CR00011                                        Date: 10/16/2019


  Defendant:                                                Counsel:
  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                  Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.           Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent              Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent               Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles             Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler             Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross                 Terry Grimes
  (bond)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond)           Corey Diviney




  PRESENT:       JUDGE:                   Michael F. Urbanski, CUSDJ
                 TIME IN COURT:           9:28-11:09; 11:29-12:49; 1:06-1:17; 2:19-2:54; 3:27- 3:48
                                          4h 8m
                 Deputy Clerk:            Kristin Ayersman
                 Court Reporter:          Judy Webb
                 U. S. Attorney:          Heather Carlton, Ron Huber, Michael Newman
                 USPO:                    Kim Falatic
                 Case Agent:              Devin Taylor, FBI TFO Pittsylvania County
                 Interpreter:             none


                                         LIST OF WITNESSES

      GOVERNMENT                                            DEFENDANT
    1.                                                 1.




  PROCEEDINGS:

         United States of America or Defendant makes oral Motion to Exclude Witnesses from
         Courtroom. Court grants motion.



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        Opening Statements by counsel. Obj to evidence being used in opening by US from Dft
        8 – overruled. Recess 11:09 Reconvene 11:29. Dft 1 opening statement. Dft 2 opening
        statement. Dft 3 opening statement. Dft 4 declines opening statement. Dft 5 opening
        statement. Dft 6 decline opening statement. Dft 8 opening statement. Recess 12:49
        Reconvene 1:06 Dft 8 opening continued. Dft 10 declines opening statement. Court
        recesses for lunch until 2:15pm. Jury recesses 1:12 Recess 1:17 Reconvene 2:19 Dft 6
        raises issue from this morning, re potential other state GJ testimony. Discussion. Court
        asks US to respond re existence of other evidence that was presented to multi-
        jurisdictional GJ re 418cr11 and 418cr12 – no, there is none. Court asks about state GJ
        testimony related in any way to charges in this case or 418cr12 that has not been turned
        over – no, there is none. US states it turned over the fed GJ transcripts over a year ago
        related to the state GJ testimony, that were more fulsome in detail. Court asks if there is
        any other state GJ testimony that bears on either case that has not been produced, related
        to actions in this case/indictment – US states no, Commonwealth Atty affirms, states
        tapes still available, transcripts may or may not be available. US states that there could
        have been other occasions, on unrelated issues, that exist. Further discussion. Mr.
        Newman states this was not a special grand jury which is different from a multi-
        jurisdictional grand jury and did not create a report. Court asks US about testimony
        regarding shooting sprees related to this case and any GJ information not produced. US
        asks to stop for day to research answer for information requested by the court. Recess
        2:54 Reconvene 3:27 US states proposal it gave to defense – asks that court dismiss the
        jurors for today and contact them with return date, and asks that parties reconvene with
        court 10/17 at 2pm for discussion. Court provides case cite for parties. Court agrees to
        see parties tomorrow for a status hearing at 2pm, and will tell jury to return on Monday,
        10/21. Dft 4 responds, notes separate statute re multi-jurisdictional GJ’s. Court addresses
        parties – all defendants agree to that plan. Court will excuse Ms. Fuller and Ms. Ross
        from attending status hearing, but can attend if so want to. Jury returns to courtroom 3:40
        Court gives a brief continuance of the case, dismisses jury until Monday, Oct 21 at
        9:30am and admonishes them re research, communication, internet, etc. Jury excused
        3:47 Status hrg 10/17 @ 2pm, all counsel/dfts with exception of two excused to appear.
        Adjourn. 3:48
        Government presents evidence.
        Government rests.
        Defendant makes Motion for Judgment of Acquittal.
        Court      grants     denies      takes under advisement.
        Defendant presents evidence.
        Defendant rests.
        Defendant renews Motion for Judgment of Acquittal.
        Court      grants     denies      takes under advisement.
        Rebuttal evidence.
        Surrebuttal evidence.
        Closing Arguments.
        Jury Instructions given to Jury.
        Objections to Jury Instructions by U.S.A and/or Defendant.
        Court      overrules      grants.
        Jury retires to deliberate at Time retired.
        Jury returns at Time returned.
        Jury Verdict: Verdict?
                 Jury polled.                           Polling waived.
                 Mistrial declared.                     Jury discharged.

        Motions after verdict:
        Sentencing set for ______.
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        Sentencing to be set by Clerk.
         Court orders Presentence Report.
         Defendant remanded to custody.
         Defendant to remain on bond.


  Additional Information:

  Court addresses parties outside presence of jury. Court addresses pending motion 904 – no
  objections from any party – court will enter written order. Court addresses pending motion 924
  – US states none of those witnesses mentioned in the motion are going to be called as witnesses
  by the govt. Dft 4 responds – issue is that the discovery hasn’t been turned over, asks that no
  cooperating witness be called until that GJ testimony has been turned over. Court asks why state
  GJ material not produced. US states inadvertent omission, witnesses not being called, testified in
  federal GJ which the dfts have and that is consistent with the state GJ testimony. These witnesses
  corroborate that of a co-dft who will testify today. US will bring copies for defense counsel, and
  email same, later this morning. Dft 4 asks that this testimony be delayed until tomorrow so that
  defense can review collectively. Court directs this discovery be produced right away. Court
  asks each defendant if fully satisfied with advice and representation of counsel – all defendants
  state that they are. Court will re-swear jury. US asks that no mention of 927 until ruled on –
  court responds that the motion will be denied by written order (forthcoming). Mr. Cook asks that
  the court asks the jury daily at the start of trial about media, research, etc. US concerned with
  pressure on jury with individual answers. Mr. Kowalczuk registers concern. Jury enters
  courtroom 9:47 Venire sworn. Court asks jurors about media – none have read, researched on
  media.




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